Case 1:19-cv-01974-TNM Document 27 Filed 08/09/19 Page 1 of 14

Duane Morley Cox, Pro Se
1199 Cliffside Dr.

Logan, Utah 84321

Ph: (801) 755-3578

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

FAEAAEAFEEEAEEFEEFLEEEAEAAEEFALEAEFALEAFAEAALEEEEEAEEEEEEEE EET
+

Committee On Ways And Means

United States House Of Representatives

1102 Longworth House Office Building

Washington D.C. 20515

Civil Action No. 1:19-cv-1974 (TNM)

Plaintiff
Reply To Defendant’s Opposition To
Duane Morley Cox’s Motion To
Intervene.

United States Department Of The
Treasury et. al.

1500 Pennsylvania Avenue, N.W.
Washington D.C. 20220

+t erteeeeteet

Defendants +
FEEEEEEEEEEEEE ERE EAE EEE EEEEEEE AEE EAEEEEEEEEEEE EE EEE

Now Comes Duane Morley Cox, Pro Se, filing his Reply to Defendants
Opposition To Mr. Cox’s Motion To Intervene.
ARGUMENTS
Pursuant to Article III, standing requires that Mr. Cox must personally have:
1) suffered some actual or threatened injury; 2) that injury can be traced to the
challenged action of the Ways & Means Committee; and 3) that the injury is likely
to be redressed by a favorable decision. Lujan v. Defs. v. Wildlife, 504 U.S. 555,

560-61 (1992). And “when the plaintiff is not himself the object of the government

action or inaction he challenges, standing is not precluded, but it is ordinarily

RECEIVED _

 

Pgl

 

 
Case 1:19-cv-01974-TNM Document 27 Filed 08/09/19 Page 2 of 14

“substantially more difficult" to establish. Allen, 468 U.S. at 758; Simon, 426 U.S.

at 44-45; Warth, 422 U.S. at 505". Id. @ 562

Mr. Cox admits that he is not the object of the government action or inaction
he challenges, and thus recognizes and follows the “substantially more difficult”
path to standing because standing is not precluded.

At the heart of the matter is the holding by the U.S. Supreme Court in
Nixon v. Fitzgerald [Nixon]

“Although there is no blanket recognition of absolute immunity for all federal

executive officials ... The President’s absolute immunity is a functionally

mandated incident of his unique office rooted in the constitutional tradition
of the separation of powers and supported by the Nation’s history. Because of
the singular importance of the President’s duties, diversion of his energies by
concern with private lawsuits would raise unique risks to the effective

functioning of government. While the separation of powers doctrine does not
bar every exercise of jurisdiction over the President, a court, before exercising

jurisdiction, must balance the constitutional weight of the interest to be

served against the dangers of intrusion on the authority and functions of the
Executive Branch.” Nixon v. Fitzgerald, 457 U.S. 731 @ 732 [Emphasis

Added] [Hereafter Nixon]

This holding by the U.S. Supreme Court by Justice Powell uniquely
recognizes the importance of the Executive Branch function, and the dangers
associated with lawsuits which themselves or their results pose to the ability of the
President to perform his Executive functions. And this Precedent creates a “High
Bar” which litigants must clear in order to sue the President and/or Presidency of
the United States.

To be sure, this holding is based upon the word “Must” which is one of

command, which the parties and the lower courts cannot of themselves ignore, for

Pg 2
Case 1:19-cv-01974-TNM Document 27 Filed 08/09/19 Page 3 of 14

the Parties cannot confer jurisdiction by consent or waiver Insurance Corp of
Ireland v. Compaignie des Bauxites de Guinee, 456 U.S. 694, 702 (1982). And
Plaintiffs have the burden of establishing Jurisdiction for each form of relief that
they request Lewis v. Casey, 518 U.S. 343, 358 n.6 (1996).

Thus, the U.S. Supreme Court has mandated that the Jurisdictional test of
Nixon be considered before any Court, including this Court, accepts Jurisdiction of
lawsuits against the President and/or Presidency. And where this Court has
already allowed the President and his business entities to intervene (Defendant
Opposition, Pg 5) this case clearly involves the President and/or Presidency, and
thus falls under the purview of the precedent of Nixon.

Defendants properly state that “Intervention as of right depends on four
factors” which Movant now addresses as pertains to the precedent of Nixon.

1) The application to intervene must be timely. Defendants do not
allege and it is beyond question that Mr. Cox was timely.

2) The applicant must demonstrate a legally protected interest in the
action. Movant asserts that he has a legally protected interest in assuring that the
President is not distracted from his duties, which interest is legally protected not by

statute, but by the precedent of Nixon.

 

For example, Movant and his wife who were retired and living on fixed
incomes, were very badly financially injured by the stock market crash of 2008. His
wife lost 94% of her retirement nest egg and her dividend income which she lived off

of dropped from $22,880 per year to $520 per year. Movant was injured similarly,
Pg 3
Case 1:19-cv-01974-TNM Document 27 Filed 08/09/19 Page 4 of 14

and both had to live off of Movant’s retirement check. As a result they shut their
doors so to speak and dropped out of the economy, no house repairs, no new cars
and no vacations for the next 8 years. On the date President Trump was elected,
their stock value was $28 per share, and his wife’s dividend income had increased
back to only $4,320 per year. Today, in the 2+ years of the Trump Presidency, their
stock value has increased to $45.48 per share, and his wife’s dividend income has
increased to $12,240 per year, and they have rejoined the economy buying their first
new car in 10 years (three others yet to replace) and are planning their first
vacation in 11 years. But life is fragile, and its goodness could be lost should the
economy turn “South” again. Thus Movant and his wife have a substantial
economic interest in avoiding another national financial crisis created by a
distracted President..

Although Defendants characterize this economic interest as being a general
or non-particularized interest, it is protected, not by statute, but by the precedent of
Nixon, but only if the precedent of Nixon is invoked to protect the President from
distraction from the Duties he was elected to perform.

And to date, Defendants have not invoked this precedent to provide such
protection from distraction even though they have had multiple opportunities to do
so, including in this case.

Thus, Movant claims the right to intervene to assure that Nixon is used to

 

determine the Court’s Jurisdiction in this case because President Trump was

elected to “make America Great Again”, which he has done for Movant and his wife.
Pg 4
Case 1:19-cv-01974-TNM Document 27 Filed 08/09/19 Page 5 of 14

President Trump was not elected to be distracted from his Presidential duties by
having to explain to the Oversight Committee the complexities of running his six
inter-related companies with their complex financing, construction, purchasing,
charitable donations, infrequent bankruptcies and management of foreign as well
as American projects, especially where his tax returns have already been examined
by the IRS and corrected as necessary.

3) The action must threaten to impair that interest. Clearly, the action
by the Ways and Means Committee to sue for access to many years of President
Trump’s tax returns and the tax returns of six of his business entities, is certain to
distract the President from his Presidential duties which threatens the economic
interest of Movant and his wife . Only the President will be able to explain and
answer the hundreds to thousands of questions which the Committee is sure to
come up with as the Committee and House Democrats search through tax
returns and related financial affairs which have already been reviewed and
corrected as necessary the IRS. But he wasn’t elected to spend his time defending
his business conduct for the years before his election, he was elected to do the
peoples work as required by the Constitution, without unnecessary distraction.

Under the Speech and Debate Clause of the Constitution, Congress, its
members and key personnel are protected from lawsuits in order to assure that they
are not distracted from their duties, but the Constitution provides no comparable
protections for the President.

But the U.S. Supreme Court in its precedent of Nixon has created a similar
Pg 5

 
Case 1:19-cv-01974-TNM Document 27 Filed 08/09/19 Page 6 of 14

protection for the President, Presidency and Executive Branch. In fact by creating

the precedent of Nixon, the U.S. Supreme Court has in effect created the

 

reasonable presumption that any lawsuit against the President or Presidency is a
threat to the authority and functions of the Executive Branch, and the lawsuit must
not go forward unless the “interest to be served” by the lawsuit is greater than the
“dangers of intrusion on the authority and functions of the Executive Branch”.

So it is next important to give an example of how Presidential “distractions”
may negatively affect Movant’s economic interest.

Movant calls to this Court’s attention the “Near-Miss” which recently
occurred. After Iran shot down our drone, the President met with his advisors, and
decided to attack specific targets in retaliation. Had the President been
“distracted”, he might not have changed his mind at the last minutes before the
retaliatory actions were to commence, and had he attacked the previously selected
targets, the United States probably would be involved today in a limited or all out
war with Iran, either of which would undoubtedly result in the closure of the Straits
of Hormuz interrupting the flow of oil products essential to the international
economy, which would be reasonably expected to result in economic chaos across the
globe with negative financial impacts upon our National economy and Movant and
his wife.

This is exactly the point of the precedent of Nixon, we cannot afford the

 

“distraction” of the President and Presidency, any more than we can afford the

interruption of Congressional Legislative activities.
Pg 6
Case 1:19-cv-01974-TNM Document 27 Filed 08/09/19 Page 7 of 14

Thus Movant argues that this case must be presumed to be a threat to
Movant’s economic interest unless and until the Constitutional Weighting Analysis

mandated by Nixon is conducted and demonstrates otherwise.
4) No party to the action can be an adequate representative of the
applicant’s interest. Defendant’s Opposition to Intervention states:

“The Federal Rules require a court to allow anyone to intervene as of right
who “claims an interest relating to the property or transaction that is the
subject of the action,” and who is “so situated that disposing of the action may
as a practical matter impair or impede the Movant’s ability to protect its
interest,” unless “existing parties adequately represent that interest.” Fed R.
Civ. P. 24(a)(2); see also, e.g. Deutsche Bank Nat'l Te. Co. v. FDIC, 717 F.3d
189, 192 (D.C. Cir 2013). Opposition, Pg 2

Although Movant satisfies the first two criteria, Defendants thereafter claim:

“That Mr. Cox has no legitimate basis to doubt that his asserted interests

will be adequately defended further weakens his case for intervention of

right.” Opposition, Pg 5

And:

“The Federal Defendants will vigorously defend this lawsuit, as will the

President and his related business entities whom the court has permitted to

intervene, see ECF No. 14. That Mr. Cox has no legitimate basis to doubt

that his asserted interests will be adequately defended further weakens his

case for intervention of right.” Opposition, Pg 5

Wrong! Wrong! Wrong!

Movant respectively requests that this Court take Judicial Notice of the fact
that the Federal Defendants failed to defend on “standing” or “Jurisdictional”
grounds in their Defense in State Of California; et. al. v. Donald J. Trump; et.

al., No. 4:19-cv-00872-HSG or in Sierra Club; et. al., v. Donald J. Trump, et.

al., No. 4:19-cv-00892-HSG, making no mention at all of this Mandatory
Pg 7
Case 1:19-cv-01974-TNM Document 27 Filed 08/09/19 Page 8 of 14

Jurisdictional Constitutional Weighting Analysis in Nixon. Yet, Rep. Andy Barr
filed an extremely persuasive Amicus Brief in support of President Trump with the
U.S. Supreme Court under the appeal of Trump v. Sierra Club, No. 19A60, cited as
588 U.S._____—s (2019), which Amicus Brief was devoted entirely to the issue of
“Standing” and “Jurisdiction”. But this BARR Brief also did not consider the
precedent of Nixon.

And regarding the intervention of the personal legal teams for President
Trump and his business entities in this case, Movant also respectively requests that
this Court take Judicial Notice of the fact that the legal teams for President Trump

and his Business Entities failed to defend on the logic of Nixon in‘Trump: et.

 

al.; v. Oversight and Reform Committee, No. 1:19-cv-1136 and the Federal
Court of Appeals for the District of Columbia, on appeal accepted Movant’s Amicus
Brief which focused on the principles of Nixon as a defense in favor of President
Trump.

And this Court should take Judicial Notice of the fact that Movant has had

his Amicus Brief which relies upon Nixon accepted by the Federal Appeals Court in

 

the District of Columbia, and he has filed Amicus Briefs in the Federal Court of
Appeals for the Ninth Circuit No. 4:19-cv-00892 and No. 4:19-cv-00872, and in the
Federal District Court for the Northern District of California East Bay
Sanctuary; et. al. vy. William Barr - each of which was based upon the mandate of
Nixon.

So frankly, Movant has no reason to believe that the Federal Attorneys or
Pg 8
Case 1:19-cv-01974-TNM Document 27 Filed 08/09/19 Page 9 of 14

Trump’s own Attorneys are going to defend against the Ways & Means
Committee in this case on the Jurisdictional grounds of Nixon. And in contrast,
Movant has substantial experience in applying the mandated Constitutional Weight

Analysis of Nixon to a variety of legal circumstances.

 

Thus, it is clear that Movant must be granted Intervention in order to assure
that the precedent of Nixon is followed.
Conclusions

First, the precedent of Nixon establishes protections for the President

 

and/or Presidency/Executive Branch equivalent to the Constitutional protections
which the Legislative Branch enjoys under the Speech and Debate Clause.

Second, this case falls under the purview of Nixon where the President and
his businesses have been allowed to intervene.

Third, Movant’s Motion For Intervention was timely.

Fourth, Movant has a well articulated economic interest which is
undoubtedly a circumstance of first impression where Movant claims that his

economic interest is protected by the U.S. Supreme Court precedent of Nixon

 

rather than a federal statute.

Fifth, The lawsuit by the Ways & Means Committee threatens to impair
Movant’s economic interest by diverting the President’s time and energies from his
elected duties to protect and defend America, defend our borders, solve our most
pressing problems including the drug crisis, rebuilding the military, and most

importantly avoid a catastrophic decision as he seeks to keep Iran from obtaining a
Pg9
Case 1:19-cv-01974-TNM Document 27 Filed 08/09/19 Page 10 of 14

nuclear capability while avoiding an irrational act by North Korea to use its nuclear
bombs for evil] purposes - where a misstep because of the diversion of his attention
to answer and explain a myriad of questions about business affairs and taxes

which have already been examined/modified/altered by the IRS before he was
elected can without doubt seriously damage or destroy our economy and the benefits
President Trump has worked so hard to create for our country - to the detriment of
Movant and his wife.

Sixth, it is clear that the federal attorneys as well as the private attorneys
who represent Donald J. Trump are not prepared to adequately represent the
interest of the Movant. A Jurisdictional defense pursuant to the precedent of
Nixon has the benefit, if successful which is almost assured, of terminating the
lawsuit without consideration of the complicated merits which can continue for
years until resolved by the US. Supreme Court. Movant has filed Amicus Briefs in
three lawsuits in different jurisdictions, and his first was accepted by the Federal
Court of Appeals for the District of Columbia while the other two await action.

And the federal and private attorneys have no experience in pleading the

mandated Jurisdictional test of Nixon while Movant has applied the principles of

 

Nixon to four legal circumstances including this case before this Court. Yet

 

Defendant’s Federal Attorneys now try to silence Movant who is trying to help their
client. Pretty strange!
Movant argues that he is the best qualified to help this Court navigate this

issue and fully qualifies to be granted the right to Intervene, and therefore asks this
Pg 10
Case 1:19-cv-01974-TNM Document 27 Filed 08/09/19 Page 11 of 14

Court to deny Defendants Opposition and Order the Intervention of Movant.
Special Circumstances
Movant admits that his economic harm is shared by others in the population
of American citizens, but not all, and argues that a shared harm is not an absolute
bar to Intervention.

“when the plaintiff is not himself the object of the government action or
inaction he challenges, standing is not precluded, but it is ordinarily
“substantially more difficult" to establish. Allen, 468 U.S. at 758; Simon, 426
U.S. at 44-45; Warth, 422 U.S. at 505". Lujan v. Defs. v. Wildlife, 504 U.S.
555, 562
And:

““{Wjhen the asserted harm is a ‘generalized grievance’ shared in
substantially equal measure by all or large class of citizens, that harm alone
generally does not warrant exercise of jurisdiction.”) Sibley v. Alexander, 916
F. Supp. 2d 58, 61 (D.D.C 2013)” Defendant Objection, Pg 4
Of course, the key words of “normally” and “generally”, indicate the
Court has discretion apparently because such an individual would have the right to
file as an individual or a class action of their own. But such is impossible in
this instance, for the economic harm underlying the grievance would be against the
Ways and Means Committee of Congress, which is generally immune from lawsuit
pursuant to the Speech and Debate Clause.
Thus, Movant argues that the only way that the issue can be brought before
the Court system to protect Movant and others is by allowing Intervention in a

lawsuit filed against the President of the United States where the Jurisdictional

test of Nixon would apply, where Movant is in effect representing himself

 

Pg ll
Case 1:19-cv-01974-TNM Document 27 Filed 08/09/19 Page 12 of 14

individually or the class of similarly situated individuals.

And somebody needs to bring the Jurisdictional issue of Nixon before this
Court because the President is fully entitled to have the case dismissed on
Jurisdictional grounds where:

“The Federal rules of Civil Procedure state that ... a “final judgement should

grant the relief to which each party is entitled, even if the party has not

demanded that relief in its pleadings. Rule 54c” Whole Woman’s Health
v. Hellerstedt, 579 U.S. [Opinion @ II, A, Last Paragraph]

 

Thus even in the situation where the attorneys for the President fail to plead

the Jurisdictional precedent of Nixon, this court would be obligated to perform the

 

required analysis and Dismiss for lack of Jurisdiction. And it’s best to have the
issue properly brought before the Court so it can be properly briefed by the other
parties instead of being decided sua sponte as happened on a Constitutional issue at
the District Court level in Woman’s Whole Health.
RELIEF REQUESTED

Therefore, based upon the above arguments, it is respectfully requested that
this Court deny the Objections of Defendant Federal Attorney’s, and Order that
Movant is allowed to Intervene solely for the purposes of raising the Jurisdictional

issue raised by the precedent of Nixon.

Lirnns /809¢ lee BI See za)

Duane Morley Cox, ProBe c Date

 

Pg 12
Case 1:19-cv-01974-TNM Document 27 Filed 08/09/19 Page 13 of 14

Certificate Of Service

I, Duane Morley Cox, do hereby swear that on 31 July 2019, that I did serve
a true and correct copy of the attached Reply To Defendant’s Opposition To Duane
Morley Cox’s Motion To Intervene. To the below listed parties by first class mail,
postage prepaid.

Clerk’s Office (Original) Office Of General Counsel

US. District Court U.S. House of Representatives
District of Columbia 291 Cannon House Office Building
Room 1225 Washington, C.V. 20515

333 Constitution Avenue, NW
Washington D.C. 20001

Steven A. Myers et., al.

United States Department of Justice
Civil Division, Federal Programs Branch
P.O. Box 883

Washington, D.C. 20044

William S. Consovoy, et. al.
Consovoy McCarthy Park PLLC
3033 Wilson Blve., Ste 700
Arlington, Va. 22201

Crane Lt acber C47; {F Se ZD

Duane Morley Cox, PyeSe Date
Morley and Jeanne Cox
( 1199 Cliffside Drive

Logan, UT 84321

 

2 il &,

R2304H108602-02

 

Jeg El

 
